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                      UNITED STATES DISTRICT
                   FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA          )
                                  )
                                  )
v.                                )       Case No. 21-cr-00088-DLF
                                  )
RONALDN SANDLIN, et. al.,         )
                                  )
                                  )
                Defendant         )
                                  )




        DEFENDANT NATHAN DEGRAVE’S UNOPPOSED MOTION
                   TO CONTINUE SENTENCING




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      NOW COMES Defendant Nathan DeGrave by and through his

undersigned counsel of record, William L. Shipley, requesting this Honorable

Court to continue the sentencing currently set for March 21, 2023 and

extended all filing deadlines regarding sentencing.

      On June 27, 2022 this Court ordered Defendant DeGrave released from

custody after entering a plea of guilty to Counts One and Three of the

Indictment. See EFC No. 76. As part of the conditions of release, Defendant

DeGrave was subject to Home Incarceration and restricted to 24-hour-a-day

lock-down. Id.

      While trying to plan travel to Washington D.C. for sentencing, Defendant

DeGrave ran into difficulty obtaining an official identification because

documents he needed to submit to the State of Nevada were not in his

possession and obtaining them was made difficult and time-consuming by his

terms and conditions of release. He was not been able to timely secure an

official identification, and arranging to travel from Nevada to Washington DC

has been challenging as a result. Those difficulties have been resolved but he

will not have the necessary identification in time for the sentencing hearing as

currently set.

      The Government has been apprised of the situation, and has no objection

to continuing the sentencing hearing based thereon.

      Further, the parties believe there may be additional information

developed in the near future that might bear upon the decisions the Court will

be called upon to make at the time of sentencing. The requested continuance

will allow the parties to better develop that information and timely submit it to

the Court for consideration.
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      Wherefore, Defendant DeGrave requests this Honorable Court to

continue the sentencing currently set for March 21, 2023 and extended all

filing deadlines regarding sentencing.



Dated: March 14, 2023                        Respectfully submitted,

                                             /s/ William L. Shipley
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